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 6
     TIMOTHY S. BOSTWICK
 7   MICHELE L. NESSIER

 8                                UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10    TIMOTHY S. BOSTWICK, an individual; and                Case No.: 3:21-cv-02560-LB
      MICHELE L. NESSIER, an individual;
11                                                           PLAINTIFFS’ OPPOSITION TO
      Plaintiffs,                                            DEFENDANT SN’s MOTION IN
12
                                                             LIMINE NO. 2: TO LIMIT HEARSAY
13    vs.                                                    TESTIMONY AND EVIDENCE (ECF
                                                             No. 153)
14
      SETERUS, INC., a business entity; US BANK,             Date: November 9, 2023
15    N.A., a business entity; SN SERVICING CORP,            Time: 1:00 p.m.
      a business entity; and DOES 1 through 10,              Dept.: B
16
      inclusive,
17                                                           Trial Date: December 18, 2023
      Defendants.
18

19
              TO THE COURT, DEFENDANTS, AND THEIR COUNSEL OF RECORD:
20
     Plaintiffs, TIMOTHY S. BOSTWICK and MICHELE L. NESSIER (hereinafter “Plaintiffs”),
21
     hereby submits the following opposition to Defendant SN’s Motion in Limine No. 2:
22
         I.         INTRODUCTION
23
         For the foregoing reasons, this Court should deny MIL No. 2 and admit the highly relevant
24
     conversations between Plaintiffs and Representatives for Ghidotti Berger, Prestige Default
25
     Services, LLC and SN Servicing. Defendant SN argues that these conversations are hearsay, but
26
     ignores that pursuant to Fed. R. Evid. 801(d)(2), statements by “party opponents” are
27
     categorically non-hearsay.
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                                                        1
                          PLAINTIFFS’ NOTICE OF NON-OPPOSITION TO SN’S MOTION IN LIMINE NO. 2
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        II.      LEGAL ARGUMENT
 2
        A. Legal Standard
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        Courts disfavor motions in limine seeking to exclude broad categories of
 4
     evidence. See Sperberg v. Goodyear Tire and Rubber Co., 519 F.2d 708, 712 (6th Cir. 1975). The
 5
     Court "is almost always better situated during the actual trial to assess the value and utility of
 6
     evidence." Wilkins v. Kmart Corp., 487 F. Supp. 2d 1216, 1218 (D. Kan. 2007). The Sixth Circuit
 7
     explained, "[A] better practice is to deal with questions of admissibility of evidence as they arise
 8
     [in trial]." Sperberg, 519 F.2d at 712. The Court will bar use of the evidence in question only if
 9
     the moving party establishes that the evidence clearly is not admissible for any valid purpose.
10
     Lane v. Beach (E.D.Cal. Aug. 11, 2023, No. 1:20-cv-00147-JLT-GSA (PC)) 2023
11
     U.S.Dist.LEXIS 141020, at *2.)
12
              "[I]t is unnecessary, in bench trials, for a court to determine whether to exclude evidence
13
     prior to the start of trial." Alan L. Frank L. Assocs., P.C. v. OOO RM Inv., No. 16-22484-CIV,
14
     2016 U.S. Dist. LEXIS 191596, 2016 WL 9348064, at *1 (S.D. Fla. Nov. 30, 2016)
15
     (citing Cramer v. Sabine Transp. Co., 141 F. Supp. 2d 727, 733 (S.D. Tex. 2001) (noting, "this is
16
     a bench trial, making any motion in limine asinine on its face"). "The rationale underlying pre-
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     trial motions in limine does not apply in a bench trial, where it is presumed that the judge will
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     disregard inadmissible evidence and rely only on competent evidence." Id. (citing Pinal Creek
19
     Grp. v. Newmont Mining Corp., No. CV-91-1764-PHX-DAE, 2006 U.S. Dist. LEXIS 43307,
20
     2006 WL 1766494, at *1 (D. Ariz. June 26, 2006); see also matter of Blue Crest Holding Asset,
21
     Inc., No. 17-21011-CIV, 2018 U.S. Dist. LEXIS 238320, 2018 WL 1463644, at *1 (S.D. Fla. Jan.
22
     24, 2018). "The more prudent course in a bench trial, therefore, is to resolve all evidentiary
23
     doubts in favor of admissibility." Id. (citing Commerce Funding Corp. v. Comprehensive
24
     Habilitation Servs., Inc., No. 01 Civ 3796 (PKL), 2004 U.S. Dist. LEXIS 17791, 2004 WL
25
     1970144, at *5 (S.D.N.Y. Sept. 3, 2004) (W. Palm Beach Acquisitions, Inc. v. Kia Motors Am.,
26
     Inc. (S.D.Fla. Apr. 25, 2022, No. 20-cv-80780) 2022 U.S.Dist.LEXIS 75023, at *4.)
27

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                                                          2
                            PLAINTIFFS’ NOTICE OF NON-OPPOSITION TO SN’S MOTION IN LIMINE NO. 2
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 1       B. The Offered Conversations are Not Hearsay, as they are Offered Against a Party
            Opponent.
 2

 3       Defendant SN moves to exclude various alleged conversations between Plaintiffs and

 4   representatives from “Ghidotti Berger, Prestige Default Services, LLC and SN Servicing.” (ECF

 5   No. 153, pp. 6-7.) Defendant states that these conversations occurred out-of-court and Plaintiffs
 6
     offer them to prove the truth of the matter asserted, which Fed. R. Evid. 801 states is hearsay.
 7
     However, Defendant fails to note that FRE 801(d) contains categories that constitute “non-
 8
     hearsay.” Specifically, FRE 801(d)(2) reads, “The statement is offered against an opposing party
 9
     and: (A) was made by the party in an individual or representative capacity; (B) is one the party
10

11   manifested that it adopted or believed to be true; (C) was made by a person whom the party

12   authorized to make a statement on the subject; (D) was made by the party’s agent or employee on
13   a matter within the scope of that relationship and while it existed.” First, Plaintiffs offer this
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     evidence and testimony against an opposing party, SN Servicing. SN Servicing made these
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     statements adopting them or believing them to be true, as they were conveying information to
16
     Plaintiffs and instructing them on their loan account. All statements were made by parties
17

18   authorized to make the statements on the subject; this includes an SN “case officer” and several

19   attorneys for SN Servicing. Finally, these statements were all made by SN’s agents or employees,

20   and were uttered while those individuals worked on behalf of SN to resolve a loan servicing
21   dispute. Therefore, these conversations are not hearsay and this Court should admit them in their
22
     entirety.
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         III.    CONCLUSION
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25       For the abovementioned reasons, the Court should deny Defendant’s Motion in Limine to

26   exclude highly relevant, non-hearsay testimony.

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                           PLAINTIFFS’ NOTICE OF NON-OPPOSITION TO SN’S MOTION IN LIMINE NO. 2
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     DATED: September 28, 2023                  Respectfully submitted,
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                                                SHAPERO LAW FIRM
 3

 4                                              _/s/ Sarah Shapero_____________________
 5                                              Sarah Shapero
                                                Jessica Adair
 6                                              Attorneys for Plaintiffs
                                                TIMOTHY BOSTWICK
 7                                              MICHELE L. NESSIER
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                      PLAINTIFFS’ NOTICE OF NON-OPPOSITION TO SN’S MOTION IN LIMINE NO. 2
